                                                                              Case 14-03693-MM7                       Filed 12/09/14               Entered 12/09/14 16:27:26                        Doc 43          Pg. 1 of 32
                                                                     B6 Summary (Form 6 - Summary) (12/07)

                                                                                                                                  United States Bankruptcy Court
                                                                                                                                  Southern District of California

                                                                     IN RE:                                                                                                                Case No. 14-03693 MM7
                                                                     Ausdemore, Jan                                                                                                        Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                          AMENDED SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $       2,029,000.00


                                                                      B - Personal Property                                           Yes                          3 $           37,725.00


                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          3                           $      3,315,882.04


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          8                           $        363,542.73
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          1                                                     $           3,000.00
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          1                                                     $           4,966.82
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      21 $        2,066,725.00 $           3,679,424.77
                                                                             Case 14-03693-MM7              Filed 12/09/14           Entered 12/09/14 16:27:26          Doc 43     Pg. 2 of 32
                                                                     Form 6 - Statistical Summary (12/07)

                                                                                                                     United States Bankruptcy Court
                                                                                                                     Southern District of California

                                                                     IN RE:                                                                                       Case No. 14-03693 MM7
                                                                     Ausdemore, Jan                                                                               Chapter 7
                                                                                                              Debtor(s)

                                                                            AMENDED STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                       Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $         0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $         0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $         0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $         0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $         0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $         0.00

                                                                                                                                                           TOTAL        $         0.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $     3,000.00

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $     4,966.82

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $         0.00


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                       $ 1,373,332.04

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $         0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                         $          0.00

                                                                      4. Total from Schedule F                                                                                           $   363,542.73

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       $ 1,736,874.77
                                                                              Case 14-03693-MM7                        Filed 12/09/14               Entered 12/09/14 16:27:26                                           Doc 43          Pg. 3 of 32
                                                                     B6A (Official Form 6A) (12/07)

                                                                     IN RE Ausdemore, Jan                                                                                                    Case No. 14-03693 MM7
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                      AMENDED SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     9685 Graceland Way                                                                                                           J                          620,000.00             3,102,082.04
                                                                     San Diego, CA 92129
                                                                     Interest in Luke Ausdemore Foundation, LLC, owns 6002 E. 76                                                                                             300,000.00               199,800.00
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                                                                     Court, Tulsa, OK
                                                                     Interest in Real Property in Solana Beach-Value :$750,000.00 to                                                                                       1,109,000.00             2,852,082.04
                                                                     $1.2 milion




                                                                                                                                                                                      TOTAL                                2,029,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                              Case 14-03693-MM7                        Filed 12/09/14               Entered 12/09/14 16:27:26                         Doc 43            Pg. 4 of 32
                                                                     B6B (Official Form 6B) (12/07)

                                                                     IN RE Ausdemore, Jan                                                                                                   Case No. 14-03693 MM7
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                   AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial            Checking                                                                                                                      875.00
                                                                           accounts, certificates of deposit or
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Furniture and personal equipment                                                                                          10,000.00
                                                                           include audio, video, and computer              Pictures, books                                                                                                               100.00
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothes                                                                                                                       500.00
                                                                        7. Furs and jewelry.                               Jewelry including wife's jewelry                                                                                            2,000.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated              Interest in Solana Del Mar, LLC                                                                                           unknown
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                             Case 14-03693-MM7                       Filed 12/09/14       Entered 12/09/14 16:27:26                    Doc 43       Pg. 5 of 32
                                                                     B6B (Official Form 6B) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                        Case No. 14-03693 MM7
                                                                                                                            Debtor(s)                                                                             (If known)

                                                                                                                   AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                    OR COMMUNITY
                                                                                                                                                                                                                          CURRENT VALUE OF
                                                                                                                     N                                                                                                   DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                    PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                      DEDUCTING ANY
                                                                                                                     E                                                                                                    SECURED CLAIM OR
                                                                                                                                                                                                                              EXEMPTION




                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
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                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             1999 GMC P/U, 1/2 interest                                                                                1,500.00
                                                                          other vehicles and accessories.                2002 Mercury Mountaineer                                                   H                              2,500.00
                                                                                                                         2004 Mercury Mountaineer                                                   H                              5,500.00
                                                                                                                         2005 Mercedes E350                                                        W                             13,750.00
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and             Office equipment and tools                                                                                1,000.00
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
                                                                      32. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                             Case 14-03693-MM7                    Filed 12/09/14       Entered 12/09/14 16:27:26                    Doc 43            Pg. 6 of 32
                                                                     B6B (Official Form 6B) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                     Case No. 14-03693 MM7
                                                                                                                         Debtor(s)                                                                                  (If known)

                                                                                                                AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                  N                                                                                                        DEBTOR'S INTEREST IN
                                                                                                                  O                                                                                                         PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                     DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                  N                                                                                                           DEDUCTING ANY
                                                                                                                  E                                                                                                         SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION




                                                                      33. Farming equipment and implements.       X
                                                                      34. Farm supplies, chemicals, and feed.     X
                                                                      35. Other personal property of any kind         Interest in various LLCs, none of which have any net worth.                                                         0.00
                                                                          not already listed. Itemize.                Meet the Needs Foundation- Liabilities exceed assets. Has liens                                                     0.00
                                                                                                                      on various assets.
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                                                                                                                                                                                             TOTAL                                 37,725.00
                                                                                                                                                                        (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                       Report total also on Summary of Schedules.)
                                                                                Case 14-03693-MM7                     Filed 12/09/14             Entered 12/09/14 16:27:26                    Doc 43          Pg. 7 of 32
                                                                     B6C (Official Form 6C) (04/10)

                                                                     IN RE Ausdemore, Jan                                                                                            Case No. 14-03693 MM7
                                                                                                                               Debtor(s)                                                                        (If known)

                                                                                                       AMENDED SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:
                                                                     (Check one box)
                                                                                                                                                        9Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                           11 U.S.C. § 522(b)(2)
                                                                        911 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                    CURRENT VALUE
                                                                                                                                                                                           VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                              EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                     EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     9685 Graceland Way                                           CCCP § 704.730(a)(3)                                            175,000.00             620,000.00
                                                                     San Diego, CA 92129
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Checking                                                     CCCP § 704.070                                                       875.00                    875.00
                                                                     Furniture and personal equipment                             CCCP § 704.020                                                   10,000.00                 10,000.00
                                                                     Pictures, books                                              CCCP § 704.020                                                       100.00                    100.00
                                                                     Clothes                                                      CCCP § 704.020                                                       500.00                    500.00
                                                                     Jewelry including wife's jewelry                             CCCP § 704.040                                                     2,000.00                 2,000.00
                                                                     1999 GMC P/U, 1/2 interest                                   CCCP § 704.060(a)(3)                                               1,500.00                 1,500.00
                                                                     2002 Mercury Mountaineer                                     CCCP § 704.010                                                     2,500.00                 2,500.00
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                                                                     2004 Mercury Mountaineer                                     CCCP § 704.010                                                       225.00                 5,500.00
                                                                                                                                  CCCP § 704.060(a)(3)                                               5,275.00
                                                                     Office equipment and tools                                   CCCP § 704.060(a)(3)                                               1,000.00                 1,000.00




                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                              Case 14-03693-MM7                        Filed 12/09/14                                       Entered 12/09/14 16:27:26                               Doc 43                                Pg. 8 of 32
                                                                     B6D (Official Form 6D) (12/07)

                                                                     IN RE Ausdemore, Jan                                                                                                                       Case No. 14-03693 MM7
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                 AMENDED SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO.                                                                                   1st TD on Graceland property, amount is                                                        250,000.00
                                                                                                                                                                   principal amount of loan
                                                                     Bank Of America
                                                                     Box 26078
                                                                     Greensboro, NC 27420

                                                                                                                                                                   VALUE $ 620,000.00

                                                                     ACCOUNT NO.                                                                                   1st Morgage. Amount principal amount                                                           199,800.00
                                                                     Chase Mortgage
                                                                     Box 78420
                                                                     Phoenix, AZ 85062

                                                                                                                                                                   VALUE $ 300,000.00

                                                                     ACCOUNT NO.                                                                                                                                                                   X                16,181.06                16,181.06
                                                                     ESU, Inc.
                                                                     7666 Forula Pl Ste C
                                                                     San Diego, CA 92121

                                                                                                                                                                   VALUE $ 1,729,000.00

                                                                     ACCOUNT NO.                                                                                   Abstract 2012                                                                   X                22,776.07                22,776.07
                                                                     Harsch Inv Properties
                                                                     10509 Vista Sorrento Pkwy
                                                                     San Diego, CA 92121

                                                                                                                                                                   VALUE $ 1,729,000.00
                                                                                                                                                                                                                       Subtotal
                                                                            2 continuation sheets attached                                                                                                 (Total of this page) $ 488,757.13 $                                               38,957.13
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                              Case 14-03693-MM7                      Filed 12/09/14                                       Entered 12/09/14 16:27:26                               Doc 43                                Pg. 9 of 32
                                                                     B6D (Official Form 6D) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                     Case No. 14-03693 MM7
                                                                                                                               Debtor(s)                                                                                                                                      (If known)

                                                                                                AMENDED SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                   (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                               AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                       UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                     PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                             PROPERTY SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Tax Lien 2013                                                                                  156,436.47              156,436.47
                                                                     Internal Revenue Sevice
                                                                     Box 7346
                                                                     Philadephia, PA 19101-7346

                                                                                                                                                                 VALUE $ 1,729,000.00

                                                                     ACCOUNT NO.                                                                                 Abstract Lien 2012                                                              X                14,298.80                14,298.80
                                                                     Jeffery Schneider
                                                                     Unknown
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                                                                                                                                                                 VALUE $ 1,729,000.00

                                                                     ACCOUNT NO.                                                                                 TD-disputed debt                                                                X              205,000.00              205,000.00
                                                                     Marks, Finch, Et Al
                                                                     4747 Executive Drive # 700
                                                                     San Diego, CA 92121

                                                                                                                                                                 VALUE $ 1,729,000.00

                                                                     ACCOUNT NO.                                                                                 Guarantied various debts, unpaid labor                                                           unknown
                                                                                                                                                                 charges.
                                                                     Meet The Need Foundation
                                                                     9685 Graceland
                                                                     San Diego, CA 92129

                                                                                                                                                                 VALUE $ 9,500.00

                                                                     ACCOUNT NO.                                                                                 lienholder on 2008 Mercedes Benz                                                                 14,000.00                     250.00
                                                                     Mission FCU
                                                                     Box 919023
                                                                     San Diego, CA 92191

                                                                                                                                                                 VALUE $ 13,750.00

                                                                     ACCOUNT NO.                                                                                 LLC owned by Debtor and Debtor's wife.                                                      2,400,000.00               921,000.00
                                                                     Regents Bank/Solana Del Mar. LLC Assigne                                                    Puchased Regent Bank loan with exempt
                                                                     17161 Alva                                                                                  funds.
                                                                     San Diego, CA 92127


                                                                                                                                                                 VALUE $ 1,729,000.00
                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $ 2,789,735.27 $ 1,296,985.27
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                            (Report also on         (If applicable, report
                                                                                                                                                                                                                                                            Summary of              also on Statistical
                                                                                                                                                                                                                                                            Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                    Data.)
                                                                             Case 14-03693-MM7                      Filed 12/09/14                                       Entered 12/09/14 16:27:26                          Doc 43                                   Pg. 10 of 32
                                                                     B6D (Official Form 6D) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                     Case No. 14-03693 MM7
                                                                                                                               Debtor(s)                                                                                                                                     (If known)

                                                                                                AMENDED SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                   (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                                                                                                                              AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                       CLAIM WITHOUT
                                                                                                                                                                                                                                                                                      UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                              DEDUCTING
                                                                                                                                                                                                                                                                                    PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                             PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Labor Claim-Abstract lien-2012                                                 X                13,322.89                13,322.89
                                                                     State Of California Labor Commission
                                                                     7575 Metropolitan Dr.,
                                                                     San Diego, CA 92108

                                                                                                                                                                 VALUE $ 1,729,000.00

                                                                     ACCOUNT NO.                                                             H Tax lien 2011                                                                                                     24,066.75                24,066.75
                                                                     State Of CaliforniaEDD
                                                                     P.O. Box 826880
                                                                     Sacramento, CA 94280-0001
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                                                                                                                                                                 VALUE $ 1,729,000.00

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $                                  37,389.64 $              37,389.64
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $ 3,315,882.04 $ 1,373,332.04
                                                                                                                                                                                                                                                           (Report also on         (If applicable, report
                                                                                                                                                                                                                                                           Summary of              also on Statistical
                                                                                                                                                                                                                                                           Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
                                                                             Case 14-03693-MM7                         Filed 12/09/14                Entered 12/09/14 16:27:26                          Doc 43           Pg. 11 of 32
                                                                     B6E (Official Form 6E) (04/10)

                                                                     IN RE Ausdemore, Jan                                                                                                      Case No. 14-03693 MM7
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                      AMENDED SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                     9Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                          * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            0 continuation sheets attached
                                                                             Case 14-03693-MM7                         Filed 12/09/14                                     Entered 12/09/14 16:27:26                   Doc 43         Pg. 12 of 32
                                                                     B6F (Official Form 6F) (12/07)

                                                                     IN RE Ausdemore, Jan                                                                                                                     Case No. 14-03693 MM7
                                                                                                                                 Debtor(s)                                                                                                          (If known)

                                                                                  AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                 DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                            CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                   SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO.
                                                                     American Express
                                                                     Zwicker & Assoc
                                                                     80 Minuteman Rd
                                                                     Andover, MA 01840
                                                                                                                                                                                                                                                                              16,181.06
                                                                     ACCOUNT NO.
                                                                     Arbon Equipment Corp.
                                                                     Box 78196
                                                                     Milwaukee, WI 53278

                                                                                                                                                                                                                                                                               2,669.27
                                                                     ACCOUNT NO.
                                                                     Boyer Moving & Storage
                                                                     13691 Danielson Ste D
                                                                     Poway, CA 92064

                                                                                                                                                                                                                                                                              20,632.92
                                                                     ACCOUNT NO.
                                                                     Carmen Smith
                                                                     6930 Mt Vernon
                                                                     Lemon Grove, CA 91945

                                                                                                                                                                                                                                                                                 400.00
                                                                                                                                                                                                                                       Subtotal
                                                                            7 continuation sheets attached                                                                                                                 (Total of this page) $                             39,883.25
                                                                                                                                                                                                                                          Total
                                                                                                                                                                             (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                 the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                              Summary of Certain Liabilities and Related Data.) $
                                                                             Case 14-03693-MM7                      Filed 12/09/14                                      Entered 12/09/14 16:27:26                   Doc 43         Pg. 13 of 32
                                                                     B6F (Official Form 6F) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                   Case No. 14-03693 MM7
                                                                                                                              Debtor(s)                                                                                                           (If known)

                                                                                 AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                           CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                  SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.
                                                                     Commericial Restroom Access, Inc.
                                                                     2932 Verde View Rd
                                                                     Alpine, CA 91901

                                                                                                                                                                                                                                                                            17,619.00
                                                                     ACCOUNT NO.
                                                                     Core Support Sysrtems, Inc.
                                                                     12 Mauchly Bldg B
                                                                     Irvine, CA 92618
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                                                                                                                                                                                                                                                                            10,998.49
                                                                     ACCOUNT NO.
                                                                     CTI-David P. Etue
                                                                     8346 Robbie Way
                                                                     Lemon Grove, CA 91945

                                                                                                                                                                                                                                                                             5,270.00
                                                                     ACCOUNT NO.
                                                                     Design/Build General Contractors, Inc.
                                                                     7740 Kenamar Ct
                                                                     San Diego, CA 92121

                                                                                                                                                                                                                                                                             6,945.66
                                                                     ACCOUNT NO.
                                                                     Design/Build HVAC, Inc.
                                                                     7740 Kennamar Ct
                                                                     San Diego, CA 92121

                                                                                                                                                                                                                                                                             6,945.66
                                                                     ACCOUNT NO.
                                                                     Disbro, Inc./ Paul Disbro
                                                                     326 Front St
                                                                     El Cajon, CA 92020

                                                                                                                                                                                                                                                                            27,755.42
                                                                     ACCOUNT NO.                                                                   H Possible liability as co-signer re Insurance. 2013.                            X
                                                                     Everest Insurance
                                                                     C/O Windham
                                                                     382 Main
                                                                     Salem, NH 03079
                                                                                                                                                                                                                                                                               299.45
                                                                     Sheet no.       1 of        7 continuation sheets attached to                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page) $                             75,833.68
                                                                                                                                                                                                                                        Total
                                                                                                                                                                           (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                               the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                            Summary of Certain Liabilities and Related Data.) $
                                                                             Case 14-03693-MM7                      Filed 12/09/14                                      Entered 12/09/14 16:27:26                   Doc 43         Pg. 14 of 32
                                                                     B6F (Official Form 6F) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                   Case No. 14-03693 MM7
                                                                                                                              Debtor(s)                                                                                                           (If known)

                                                                                 AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                           CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                  SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.
                                                                     G Cubed Enterprises
                                                                     BX 359
                                                                     Lemon Grove, CA 91945

                                                                                                                                                                                                                                                                             1,165.00
                                                                     ACCOUNT NO.
                                                                     Gatto, Pope & Walwick
                                                                     550 W "C" St Ste 1700
                                                                     San Diego, CA 92101
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                                                                                                                                                                                                                                                                             8,070.00
                                                                     ACCOUNT NO.
                                                                     Helix Mechanical
                                                                     1100 North Magnolia Ste L
                                                                     El Cajon, CA 92020

                                                                                                                                                                                                                                                                               788.00
                                                                     ACCOUNT NO.
                                                                     J Cloud Inc
                                                                     2094 Willow Glen Dr
                                                                     El Cajon, CA 92019

                                                                                                                                                                                                                                                                               260.00
                                                                     ACCOUNT NO.
                                                                     John Hancock
                                                                     Box 894109
                                                                     Los Angeles, CA 90189

                                                                                                                                                                                                                                                                             2,534.09
                                                                     ACCOUNT NO.
                                                                     KD Flooring & Installation
                                                                     4348 Miriam Pl
                                                                     La Mesa, CA 91941

                                                                                                                                                                                                                                                                               959.99
                                                                     ACCOUNT NO.
                                                                     King Business Services
                                                                     10981 S.D. Mission Rd #250
                                                                     San Diego, CA 92108

                                                                                                                                                                                                                                                                               170.12
                                                                     Sheet no.       2 of        7 continuation sheets attached to                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page) $                             13,947.20
                                                                                                                                                                                                                                        Total
                                                                                                                                                                           (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                               the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                            Summary of Certain Liabilities and Related Data.) $
                                                                             Case 14-03693-MM7                      Filed 12/09/14                                      Entered 12/09/14 16:27:26                   Doc 43         Pg. 15 of 32
                                                                     B6F (Official Form 6F) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                   Case No. 14-03693 MM7
                                                                                                                              Debtor(s)                                                                                                           (If known)

                                                                                 AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                           CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                  SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.
                                                                     Ls Salle Lighting Services
                                                                     Box 2859
                                                                     Catheral City, CA 92235

                                                                                                                                                                                                                                                                               399.25
                                                                     ACCOUNT NO.
                                                                     Lyons Flooring & Design
                                                                     2827 Imperial Ave
                                                                     San Diego, CA 92102
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                                                                                                                                                                                                                                                                             3,720.00
                                                                     ACCOUNT NO.
                                                                     Matzenauer Electric
                                                                     12115 Lakeside Ave
                                                                     Lakeside, CA 92040

                                                                                                                                                                                                                                                                             9,069.81
                                                                     ACCOUNT NO.
                                                                     MWB Business Systems
                                                                     File 50897
                                                                     Los Angeles, CA 90074

                                                                                                                                                                                                                                                                             3,796.81
                                                                     ACCOUNT NO.
                                                                     N.Y. Tile & Marble, Inc.
                                                                     9182 Chesapeake Dr
                                                                     San Diego, CA 92123

                                                                                                                                                                                                                                                                             5,500.00
                                                                     ACCOUNT NO.
                                                                     National Air & Energy
                                                                     2053 Kurtz St
                                                                     San Diego, CA 92110

                                                                                                                                                                                                                                                                             4,818.23
                                                                     ACCOUNT NO.
                                                                     Noesis Consulting Group, Inc.
                                                                     8042 Calle Pinon
                                                                     Carlsbad, CA 92009

                                                                                                                                                                                                                                                                             8,369.58
                                                                     Sheet no.       3 of        7 continuation sheets attached to                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page) $                             35,673.68
                                                                                                                                                                                                                                        Total
                                                                                                                                                                           (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                               the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                            Summary of Certain Liabilities and Related Data.) $
                                                                             Case 14-03693-MM7                      Filed 12/09/14                                      Entered 12/09/14 16:27:26                   Doc 43         Pg. 16 of 32
                                                                     B6F (Official Form 6F) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                   Case No. 14-03693 MM7
                                                                                                                              Debtor(s)                                                                                                           (If known)

                                                                                 AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                           CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                  SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.
                                                                     Nova Communication, Inc.
                                                                     8135 Engineer Rd
                                                                     San Diego, CA 92111

                                                                                                                                                                                                                                                                               478.56
                                                                     ACCOUNT NO.
                                                                     Partner Engineering
                                                                     2101 Rosecrans Ave # 4270
                                                                     El Segundo, CA 90245
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                                                                                                                                                                                                                                                                             3,244.79
                                                                     ACCOUNT NO.
                                                                     Phamatech, Inc.
                                                                     10151 Barnes Canyon Rd
                                                                     San Diego, CA 92121

                                                                                                                                                                                                                                                                               704.66
                                                                     ACCOUNT NO.
                                                                     Powerman/Jeff Tucker Electrical
                                                                     5979 Quit Slope Dr
                                                                     San Diego, CA 92120

                                                                                                                                                                                                                                                                             2,295.00
                                                                     ACCOUNT NO.
                                                                     Prostar Wireless
                                                                     7080 Miramar Rd Ste A
                                                                     San Diego, CA 92121

                                                                                                                                                                                                                                                                                90.00
                                                                     ACCOUNT NO.
                                                                     Rapid Dry
                                                                     4901 Morena Bl. # 404
                                                                     San Diego, CA 92117

                                                                                                                                                                                                                                                                               125.00
                                                                     ACCOUNT NO.
                                                                     ReSource Floors, Inc.
                                                                     9881 Carroll Centre Rd.
                                                                     San Diego, CA 92126

                                                                                                                                                                                                                                                                             5,555.10
                                                                     Sheet no.       4 of        7 continuation sheets attached to                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page) $                             12,493.11
                                                                                                                                                                                                                                        Total
                                                                                                                                                                           (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                               the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                            Summary of Certain Liabilities and Related Data.) $
                                                                             Case 14-03693-MM7                      Filed 12/09/14                                      Entered 12/09/14 16:27:26                   Doc 43         Pg. 17 of 32
                                                                     B6F (Official Form 6F) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                   Case No. 14-03693 MM7
                                                                                                                              Debtor(s)                                                                                                           (If known)

                                                                                 AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                           CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                  SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.
                                                                     RM Commercial Flooring, Inc.
                                                                     2341 Nabal St
                                                                     Escondido, CA 92025

                                                                                                                                                                                                                                                                             2,294.38
                                                                     ACCOUNT NO.
                                                                     Roel Consulting Services
                                                                     3366 Kurtz St.
                                                                     San Diego, CA 92110
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                                                                                                                                                                                                                                                                            13,403.26
                                                                     ACCOUNT NO.
                                                                     San Diego Fence Co. Inc.
                                                                     7920 Engineer Rd
                                                                     San Diego, CA 92111

                                                                                                                                                                                                                                                                             2,082.60
                                                                     ACCOUNT NO.
                                                                     Servicon Systems Inc.
                                                                     3965 Landmark St
                                                                     Culver City, CA 90232

                                                                                                                                                                                                                                                                            16,180.00
                                                                     ACCOUNT NO.
                                                                     Sherwood Mechanical Inc.
                                                                     6630 Top Gun St
                                                                     San Diego, CA

                                                                                                                                                                                                                                                                             4,000.00
                                                                     ACCOUNT NO.
                                                                     South Bay Fence
                                                                     3084 Main St
                                                                     Chula Vista, CA 91911

                                                                                                                                                                                                                                                                             2,986.00
                                                                     ACCOUNT NO.
                                                                     South Coast Equipment Repair
                                                                     Box 506
                                                                     San Clemente, CA 92674

                                                                                                                                                                                                                                                                               235.90
                                                                     Sheet no.       5 of        7 continuation sheets attached to                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page) $                             41,182.14
                                                                                                                                                                                                                                        Total
                                                                                                                                                                           (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                               the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                            Summary of Certain Liabilities and Related Data.) $
                                                                             Case 14-03693-MM7                      Filed 12/09/14                                        Entered 12/09/14 16:27:26                     Doc 43         Pg. 18 of 32
                                                                     B6F (Official Form 6F) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                       Case No. 14-03693 MM7
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                 AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.
                                                                     Southland Exterior Bldg Serv.
                                                                     27881 La Paz Rd # 418
                                                                     Laguna Niguel, CA 92677

                                                                                                                                                                                                                                                                                  1,440.00
                                                                     ACCOUNT NO.
                                                                     Sprint/Nextel
                                                                     Box 4181
                                                                     Carol Stream, IL 60197
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                                                                                                                                                                                                                                                                                  6,931.66
                                                                     ACCOUNT NO.
                                                                     SSD Systems
                                                                     1740 N. Lemon St
                                                                     Anaheim, CA 92801

                                                                                                                                                                                                                                                                                   503.28
                                                                     ACCOUNT NO.
                                                                     State Fund Workers Comp Ins.
                                                                     Box 420807
                                                                     San Francisco, CA 94142

                                                                                                                                                                                                                                                                                100,000.00
                                                                     ACCOUNT NO.
                                                                     Summit Equipment Rentals
                                                                     33390 Bailey Park Bl
                                                                     Menifee, CA 92584

                                                                                                                                                                                                                                                                                  6,664.09
                                                                     ACCOUNT NO.                                                                                        Corp debt, may be personal liability
                                                                     Superior Roofing
                                                                     Box 2635
                                                                     San Marcos, CA

                                                                                                                                                                                                                                                                                 15,000.00
                                                                     ACCOUNT NO.
                                                                     Surfaces USA
                                                                     6330 Miramar Rd
                                                                     San Diego, CA 92121

                                                                                                                                                                                                                                                                                  2,510.00
                                                                     Sheet no.       6 of        7 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $ 133,049.03
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                             Case 14-03693-MM7                      Filed 12/09/14                                        Entered 12/09/14 16:27:26                    Doc 43        Pg. 19 of 32
                                                                     B6F (Official Form 6F) (12/07) - Cont.

                                                                     IN RE Ausdemore, Jan                                                                                                                      Case No. 14-03693 MM7
                                                                                                                              Debtor(s)                                                                                                            (If known)

                                                                                 AMENDED SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                  DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                            AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                       OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                           CLAIM




                                                                     ACCOUNT NO.
                                                                     Waste Management
                                                                     Box 78251
                                                                     Phoenix, CA 85062

                                                                                                                                                                                                                                                                              4,076.79
                                                                     ACCOUNT NO.                                                                                        Disputed may be personal liability.                                                       X
                                                                     West-Lite Supply
                                                                     23441 Sout Point Dr
                                                                     San Diego, CA 92129
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                                                                                                                                                                                                                                                                              6,425.99
                                                                     ACCOUNT NO.
                                                                     White Cap Construction Supply
                                                                     The Anderson Group
                                                                     3001 19th St
                                                                     Metairie, LA 70002
                                                                                                                                                                                                                                                                                977.86
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       7 of        7 continuation sheets attached to                                                                                                     Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                            (Total of this page) $                            11,480.64
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $ 363,542.73
                                                                             Case 14-03693-MM7                         Filed 12/09/14               Entered 12/09/14 16:27:26                          Doc 43           Pg. 20 of 32
                                                                     B6G (Official Form 6G) (12/07)

                                                                     IN RE Ausdemore, Jan                                                                                                      Case No. 14-03693 MM7
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                        AMENDED SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     9Check this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                             Case 14-03693-MM7                         Filed 12/09/14                Entered 12/09/14 16:27:26                           Doc 43           Pg. 21 of 32
                                                                     B6H (Official Form 6H) (12/07)

                                                                     IN RE Ausdemore, Jan                                                                                                       Case No. 14-03693 MM7
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                            AMENDED SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     9Check this box if debtor has no codebtors.
                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                             Case 14-03693-MM7                       Filed 12/09/14              Entered 12/09/14 16:27:26                         Doc 43                Pg. 22 of 32
                                                                     B6I (Official Form 6I) (12/07)

                                                                     IN RE Ausdemore, Jan                                                                                                 Case No. 14-03693 MM7
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                            AMENDED SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP(S):                                                                                             AGE(S):




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation General Contractor
                                                                      Name of Employer DBGC, Inc. dba DBTI
                                                                      How long employed 28 YRS
                                                                      Address of Employer San Diego, CA



                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $                               $
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                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $                      0.00 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                               $
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                      0.00 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $                      0.00 $

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify) Loans And Advances From DBGC, Inc. dba DBTI                                                                  $               3,000.00 $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $               3,000.00 $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               3,000.00 $

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                3,000.00
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
                                                                             Case 14-03693-MM7                       Filed 12/09/14               Entered 12/09/14 16:27:26                        Doc 43          Pg. 23 of 32
                                                                     B6J (Official Form 6J) (12/07)

                                                                     IN RE Ausdemore, Jan                                                                                                  Case No. 14-03693 MM7
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                      AMENDED SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $              585.00
                                                                         a. Are real estate taxes included? Yes      No 9
                                                                         b. Is property insurance included? Yes      No 9
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              235.82
                                                                         b. Water and sewer                                                                                                                             $              225.00
                                                                         c. Telephone                                                                                                                                   $               54.54
                                                                         d. Other Wireless                                                                                                                              $               80.00
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $              150.00
                                                                     4. Food                                                                                                                                            $              600.00
                                                                     5. Clothing                                                                                                                                        $              100.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $               50.00
                                                                     7. Medical and dental expenses                                                                                                                     $              187.00
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                                                                     8. Transportation (not including car payments)                                                                                                     $              100.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $              120.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $
                                                                         b. Life                                                                                                                                        $              600.00
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $                76.30
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) Property Tax                                                                                                                         $            1,237.16
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $              216.00
                                                                         b. Other Misc                                                                                                                                  $              350.00
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other                                                                                                                                          $
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            4,966.82

                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            3,000.00
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            4,966.82
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $           -1,966.82
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    Case 14-03693-MM7   Filed 12/09/14   Entered 12/09/14 16:27:26   Doc 43   Pg. 25 of 32




X




x


     x
Case 14-03693-MM7   Filed 12/09/14   Entered 12/09/14 16:27:26   Doc 43   Pg. 26 of 32




              American Express
              Zwicker & Assoc
              80 Minuteman Rd
              Andover, MA 01840


              Arbon Equipment Corp.
              Box 78196
              Milwaukee, WI 53278


              Bank Of America
              Box 26078
              Greensboro, NC 27420


              Boyer Moving & Storage
              13691 Danielson Ste D
              Poway, CA 92064


              Carmen Smith
              6930 Mt Vernon
              Lemon Grove, CA         91945


              Chase Mortgage
              Box 78420
              Phoenix, AZ 85062


              Commericial Restroom Access, Inc.
              2932 Verde View Rd
              Alpine, CA 91901


              Core Support Sysrtems, Inc.
              12 Mauchly Bldg B
              Irvine, CA 92618


              CTI-David P. Etue
              8346 Robbie Way
              Lemon Grove, CA 91945
Case 14-03693-MM7   Filed 12/09/14   Entered 12/09/14 16:27:26   Doc 43   Pg. 27 of 32




              Design/Build General Contractors, Inc.
              7740 Kenamar Ct
              San Diego, CA 92121


              Design/Build HVAC, Inc.
              7740 Kennamar Ct
              San Diego, CA 92121


              Disbro, Inc./ Paul Disbro
              326 Front St
              El Cajon, CA 92020


              ESU, Inc.
              7666 Forula Pl Ste C
              San Diego, CA 92121


              Everest Insurance
              C/O Windham
              382 Main
              Salem, NH 03079


              G Cubed Enterprises
              BX 359
              Lemon Grove, CA 91945


              Gatto, Pope & Walwick
              550 W "C" St Ste 1700
              San Diego, CA 92101


              Harsch Inv Properties
              10509 Vista Sorrento Pkwy
              San Diego, CA 92121


              Helix Mechanical
              1100 North Magnolia Ste L
              El Cajon, CA 92020
Case 14-03693-MM7   Filed 12/09/14   Entered 12/09/14 16:27:26   Doc 43   Pg. 28 of 32




              Internal Revenue Sevice
              Box 7346
              Philadephia, PA 19101-7346


              J Cloud Inc
              2094 Willow Glen Dr
              El Cajon, CA 92019


              John Hancock
              Box 894109
              Los Angeles, CA         90189


              KD Flooring & Installation
              4348 Miriam Pl
              La Mesa, CA 91941


              King Business Services
              10981 S.D. Mission Rd #250
              San Diego, CA 92108


              Ls Salle Lighting Services
              Box 2859
              Catheral City, CA 92235


              Lyons Flooring & Design
              2827 Imperial Ave
              San Diego, CA 92102


              Marks, Finch, Et Al
              4747 Executive Drive # 700
              San Diego, CA 92121


              Matzenauer Electric
              12115 Lakeside Ave
              Lakeside, CA 92040
Case 14-03693-MM7   Filed 12/09/14    Entered 12/09/14 16:27:26   Doc 43   Pg. 29 of 32




              Meet The Need Foundation
              9685 Graceland
              San Diego, CA 92129


              Mission FCU
              Box 919023
              San Diego, CA          92191


              MWB Business Systems
              File 50897
              Los Angeles, CA 90074


              N.Y. Tile & Marble, Inc.
              9182 Chesapeake Dr
              San Diego, CA 92123


              National Air & Energy
              2053 Kurtz St
              San Diego, CA 92110


              Noesis Consulting Group, Inc.
              8042 Calle Pinon
              Carlsbad, CA 92009


              Nova Communication, Inc.
              8135 Engineer Rd
              San Diego, CA 92111


              Partner Engineering
              2101 Rosecrans Ave # 4270
              El Segundo, CA 90245


              Phamatech, Inc.
              10151 Barnes Canyon Rd
              San Diego, CA 92121
Case 14-03693-MM7   Filed 12/09/14   Entered 12/09/14 16:27:26   Doc 43   Pg. 30 of 32




              Powerman/Jeff Tucker Electrical
              5979 Quit Slope Dr
              San Diego, CA 92120


              Prostar Wireless
              7080 Miramar Rd Ste A
              San Diego, CA 92121


              Rapid Dry
              4901 Morena Bl. # 404
              San Diego, CA 92117


              Regents Bank/Solana Del Mar. LLC Assigne
              17161 Alva
              San Diego, CA 92127


              ReSource Floors, Inc.
              9881 Carroll Centre Rd.
              San Diego, CA 92126


              RM Commercial Flooring, Inc.
              2341 Nabal St
              Escondido, CA 92025


              Roel Consulting Services
              3366 Kurtz St.
              San Diego, CA 92110


              San Diego Fence Co. Inc.
              7920 Engineer Rd
              San Diego, CA 92111


              Servicon Systems Inc.
              3965 Landmark St
              Culver City, CA 90232
Case 14-03693-MM7   Filed 12/09/14   Entered 12/09/14 16:27:26   Doc 43   Pg. 31 of 32




              South Bay Fence
              3084 Main St
              Chula Vista, CA         91911


              South Coast Equipment Repair
              Box 506
              San Clemente, CA 92674


              Southland Exterior Bldg Serv.
              27881 La Paz Rd # 418
              Laguna Niguel, CA 92677


              Sprint/Nextel
              Box 4181
              Carol Stream, IL         60197


              SSD Systems
              1740 N. Lemon St
              Anaheim, CA 92801


              State Fund Workers Comp Ins.
              Box 420807
              San Francisco, CA 94142


              State Of California Labor Commission
              7575 Metropolitan Dr.,
              San Diego, CA 92108


              State Of CaliforniaEDD
              P.O. Box 826880
              Sacramento, CA 94280-0001


              Summit Equipment Rentals
              33390 Bailey Park Bl
              Menifee, CA 92584
Case 14-03693-MM7   Filed 12/09/14   Entered 12/09/14 16:27:26   Doc 43   Pg. 32 of 32




              Surfaces USA
              6330 Miramar Rd
              San Diego, CA 92121


              Waste Management
              Box 78251
              Phoenix, CA 85062


              West-Lite Supply
              23441 Sout Point Dr
              San Diego, CA 92129


              White Cap Construction Supply
              The Anderson Group
              3001 19th St
              Metairie, LA 70002
